          Case 2:20-cv-01871-RFB-NJK Document 14-2 Filed 11/06/20 Page 1 of 1

A-18-784031-C                                DISTRICT COURT
                                          CLARK COUNTY, NEVADA

Other Tort                                     COURT MINUTES                                        June 20, 2019
A-18-784031-C             Ciara Williams, Plaintiff(s)
                          vs.
                          Silvino Hinojosa, Defendant(s)
June 20, 2019               09:00 AM      All Pending Motions
HEARD BY:          Earley, Kerry                COURTROOM: RJC Courtroom 12D
COURT CLERK: Emmons, Shannon
RECORDER:          Gomez, Rebeca
REPORTER:
PARTIES PRESENT:
Erica J. Chee                                  Attorney for Defendant
James John Lee                                 Attorney for Counter Defendant, Plaintiff
Thomas D Boley                                 Attorney for Counter Claimant, Defendant

                                            JOURNAL ENTRIES
NOTICE OF MOTION OF 3/28/19 DEFENDANT TOPGOLF USA LAS VEGAS, LLC'S
MOTION TO DISMISS PLAINTIFF'S AMENDED COMPLAINT... PLAINTIFF'S MOTION TO
DISMISS DEFENDANT HINOJOSA'S COUNTERCLAIM.

Mr. Lee argued there is an absolute litigation privilege with regard to defamatory statements
made in the course of or in the anticipation of litigation; further Mr. Boley failed to plead the
counterclaim with particularity. Upon Court's inquiry, Mr. Lee advised every statement
contained in the Complaint was within the parameters of the law suit. Mr. Boley argued
Plaintiff made statements to multiple third parties which amount to unprivileged
communications. COURT ORDERED, Plaintiff's motion is GRANTED. COURT FURTHER
ORDERED, Defendant's oral motion to amend is based on factual allegations GRANTED.

Ms. Chee argued all seven causes of action initially barred by the Nevada Industrial Insurance
Act. Mr. Lee argued COURT FINDS, pursuant to Wood v. Safeway Court cannot grant
immunity for Top Golf as there are questions of fact. Mr. Lee concurred with Court's findings.
Further arguments regarding intentional torte causes of action. COURT ORDERED,
Defendant's motion is DENIED as it pertains to causes of action 1, 2, 3, 7. COURT
ORDERED, Defendant's motion is GRANTED as it pertains to causes of action 4 and 5
pursuant to NRS 613.310. COURT FURTHER ORDERED, Mr. Lee's Oral Motion to Amend
shall be GRANTED. Plaintiff shall file the Amended Complaint on or before July 5, 2019.




Printed Date: 6/26/2019                       Page 1 of 1           Minutes Date:               June 20, 2019
Prepared by: Shannon Emmons
